
80 So. 3d 411 (2012)
William D. HOLLEY, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5701.
District Court of Appeal of Florida, First District.
February 14, 2012.
William D. Holley, pro se, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and William D. Holley is hereby afforded a belated appeal from judgment and sentence in Santa Rosa County case number 2010-1007-CF. Upon issuance of mandate in this cause, a *412 copy of this opinion will be provided to the clerk of the lower tribunal who shall treat it as a notice of appeal. See Fla. R.App. P. 9141(c)(6)(D). The lower tribunal is directed to appoint counsel for appellant in the direct appeal if he qualifies for such an appointment.
LEWIS, ROBERTS, and RAY, JJ., concur.
